Case 15-45100     Doc 33   Filed 03/16/16     Entered 03/16/16 08:16:43    Main Document
                                            Pg 1 of 2


                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

 IN RE:                                           )
                                                  )
 Timothy & Jamie Ruark,                           )     Case No. 15-45100-399
                                                  )
                     Debtor.                      )     Chapter 13     Doc. 27
                                                  )
                                                  )     Certification & Order
                                                  )     Objection to Claim #19-1
                                                  )

                                            CERTIFICATION

      The undersigned certifies that all entities entitled to
 notice of Debtor’s Objection to Claim #19-1 in accordance with
 Local Bankruptcy Rules have been served with the foregoing
 motion and the time for response has passed. No responses in
 opposition have been filed or any responses in opposition have
 been resolved. Movant requests the Court enter the attached
 Order which supercedes any prior proposed Orders.
                                            ___/s/ Jennifer P. Alter_________________
                                            C Scott Brinkman, #59551MO
                                            Jennifer Alter, #58814MO
                                            1 North Taylor
                                            St. Louis, MO 63108
                                            e-mail: jalter@brinkmanandalter.com
                                            (314) 932-1067
                                            Fax: (314) 596-4331

                                            ORDER

      Upon Debtor’s Objection to Claim Number #19-1 filed by
 Cavalry Spv I, LLC for good cause shown

           IT IS ORDERED that Debtor’s Objection to claim 19-1 of

 Cavalry Spv I, LLC is Sustained;

           IT IS FURTHER ORDERED that claim number #19-1 filed by

 Cavalry Spv I, LLC is denied as filed.


     DATED: March 15, 2016
     St. Louis, Missouri                                    Barry S. Schermer
     lat                                                    United States Bankruptcy Judge
                                                    e
Case 15-45100   Doc 33   Filed 03/16/16     Entered 03/16/16 08:16:43   Main Document
                                          Pg 2 of 2




 Copy mailed to:

 Cavalry Spv I, LLC
 Bass & Associates, PC
 3936 E. Ft. Lowell Rd.
 Suite 200
 Tucson, AZ 85712

 Timothy and Jamie Ruark
 9828 Ridgecrest Dr.
 Hillsboro, MO 63050

 John V. LaBarge, Jr.
 Chapter 13 Trustee
 P.O. Box 430908
 St. Louis, MO 63143
